














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS


				




NO. PD-1049-11





DENNIS RAY DRIVER, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE FIRST COURT OF APPEALS

HARRIS COUNTY





	Per curiam.  Keasler and Hervey, JJ., dissent.  Alcala, J., not participating. 


ORDER


	The petition for discretionary review violates Rule of Appellate Procedure 9.3 (b)
because the original petition is not accompanied by 11 copies.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the COURT OF CRIMINAL APPEALS within thirty days after the date of this
order.


Filed: November 16, 2011

Do Not Publish


